     Case 2:24-cv-10961-MWC-JC   Document 26   Filed 05/16/25   Page 1 of 2 Page ID
                                       #:315


 1
 2
 3
 4
 5
 6
 7
 8                    UNITED STATES DISTRICT COURT
 9                   CENTRAL DISTRICT OF CALIFORNIA

10
11 ABORDER PRODUCTS, INC.                 Case No. 2:24-cv-10961-MWC-JC
12                                        ORDER EXTENDING TIME TO
          Plaintiff,                      RESPOND TO SECOND
13                                        AMENDED COMPLAINT
      v.                                  (DKT. 25)
14
15 DBEST PRODUCTS, INC.,
16            Defendant
17
18
19
20
21
22
23
24
25
26
27
28

                                           1
     Case 2:24-cv-10961-MWC-JC       Document 26    Filed 05/16/25   Page 2 of 2 Page ID
                                           #:316


 1       On May 15, 2025, Plaintiff Aborder Products, Inc. and Defendant dbest
 2 products, Inc. filed a stipulation requesting an extension for dbest to respond to
 3 Aborder’s Second Amended Complaint for Declaratory Judgment and Other Relief
 4 (ECF No. 23) through May 27, 2025.
 5       The Court, having considered the parties’ stipulation, and for good cause
 6 shown, hereby GRANTS the parties’ request as follows:
 7       1.    On December 20, 2024, Aborder filed its Complaint for Declaratory
 8             Relief. (ECF No. 1)
 9       2.    On January 16, 2025, Aborder filed its First Amended Complaint for
10             Declaratory and Other Relief. (ECF No. 12)
11       3.    On March 17, Aborder filed a waiver of service executed by dbest’s
12             counsel providing that dbest’s response to the first-amended complaint
13             must be filed and served within 60 days of March 12. (ECF No. 16)
14       4.    On May 6 Aborder and dbest entered a stipulation for Aborder to file a
15             second-amended complaint. (ECF No. 22)
16       5.    Aborder filed its Second Amended Complaint for Declaratory Judgment
17             and Other Relief (ECF No. 23), making dbest’s response due on May 20
18             under Rule 15(a)(3) of the Federal Rules of Civil Procedure.
19       6.    dbest’s deadline to respond to the Second Amended Complaint is hereby
20             extended by 7 days.
21       7.    Defendant dbest products, Inc. shall have through May 27, 2025 to file
22             and serve its response to Plaintiff Aborder Product, Inc.’s second-
23             amended complaint.
24       IT IS SO ORDERED.
25
26 Dated: May 16, 2025
                                           Hon. Michelle Williams Court
27                                         United States District Judge
28

                                              1
